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                        WEINER LAW GROUP11p
                                •       629 Parsippany Road
                                   Parsippany, New Jersey 07054
                                P (973) 403-1100 F (973) 403-0010
                                          www.weiner.law

LAWRENCE M. BERKELEY                                                         lmberkeley@weiner.law
Member of the Firm


                                                  June 24, 2021
Via Electronic Filing
Clerk, United States District Court
Martin Luther King Building
& U.S. Courthouse
50 Walnut Street, Room 4015
Newark, NJ 07101

       Re:     McClaire, Venesha v. Costco Wholesale Corporation, et al.
               Docket No.: MRS-L-1127-21
               Our File No.: COST-137

Dear Sir/Madam:

       Enclosed please find Petition for Removal on behalf of Defendant, Costco Wholesale
Corporation. Please file same. By copy of this letter, we are advising our adversary of this Petition.

       Thank you for your courtesy in this regard.

                                                  Respectfully submitted,



                                                  LAWRENCE M. BERKELEY
                                                  A Member of the Firm

LMB/yo
Enclosures.

cc:    Clerk, Superior Court of New Jersey, Morris County (via electronic filing)
       Adam B. Lederman, Esq. (via email – adaml.ct@dsslaw.com)
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WEINER LAW GROUP LLP
Lawrence M. Berkeley – 7706
629 Parsippany Road
Parsippany, NJ 07054
Tel: (973) 403-1100
Fax: (973) 403-0010
Email: lMberkeley@weiner.law
Attorneys for Defendant, Costco Wholesale Corporation
Our File No.: COST-137

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


VENESHA McCLAIRE                                     CIVIL ACTION NO.:

       Plaintiff

vs.

COSTCO WHOLESALE
CORPORATION, DDR SOUTHEAST
EAST HANOVER, L.L.C. a/k/a INLAND
SOUTHEAST EAST HANOVER, L.L.C.,
SITE CENTERS CORP., JOHN DOES 1-
10 (fictitious names representing unknown
individuals) and/or XYZ CORPS. 1-10
(fictitious names representing unknown
corporations, partnerships and/or Limited
Liability Companies or other types of legal
entities)

       Defendants


                                   PETITION FOR REMOVAL

       Petitioner, Costco Wholesale Corporation, by its attorneys, Weiner Law Group, LLP,

respectfully petitions the United States District Court for the District of New Jersey as follows:

       1.      This case was commenced on May 21, 2021 in the Superior Court of New Jersey,

Law Division, Morris County. Suit is identified in the Superior Court as Venesha McClaire v.
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Costco Wholesale Corporation, et al., Docket No. MRS-L-1127-21. (See Exhibit A).

        2.      Costco Wholesale Corporation first received a copy of the Complaint on May 26,

2021 when Plaintiff served Costco through its registered agent. (See Exhibit B).

        3.      The filing of this Petition for Removal is timely because it is filed within thirty days

of the date Costco Wholesale Corporation first received notice of the lawsuit.

        4.      Plaintiff’s Complaint in the Superior Court of New Jersey, Law Division, Morris

County, asserts damages of a non-specified amount. Plaintiff allegedly sustained injuries as a result

of a slip and fall incident within the East Hanover, New Jersey Costco warehouse. As such,

Defendant Costco Wholesale Corporation believes the amount in controversy exceeds $75,000,

exclusive of interest and costs.

        5.      Costco Wholesale Corporation is informed and believes that Plaintiff is an

individual citizen of the State of New Jersey.

        6.      Defendant/petitioner, Costco Wholesale Corporation, is a Washington corporation

and its principal place of business is 999 Lake Drive, Issaquah, Washington 98027.

        7.      Upon information and belief, co-defendant DDR Southeast East Hanover, LLC a/k/a

Inland Southeast East Hanover, LLC (“DDR”) is an Ohio limited liability company with a principal

place of business located within Ohio. (See Exhibit C). To date, co-defendant DDR has not filed an

Answer to the Complaint, no appearance has been entered, and the undersigned has been unable to

otherwise identify counsel for DDR in an effort to obtain DDR’s consent for the removal of this

matter to federal court. Costco Wholesale Corporation currently does not have the ability to obtain

consent from DDR.

        8.      Upon information and belief, co-defendant Site Centers Corp., (“Site Centers”) is an

Ohio corporation with its principal place of business located at 3300 Enterprise Parkway,

Beachwood, Ohio 44122. (See Exhibit D). To date, co-defendant Site Centers has not filed an

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Answer to the Complaint, no appearance has been entered, and the undersigned has been unable to

otherwise identify counsel for Site Centers in an effort to obtain Site Centers’ consent for the

removal of this matter to federal court. Costco Wholesale Corporation currently does not have the

ability to obtain consent from Site Centers.

       9.      Therefore, complete diversity exists among the parties.

       10.     In Lewis v. Rego Co., 757 F.2d 66 (3d Cir. 1985), the Third Circuit held that stating

“no entry of appearance has yet been made on behalf of [defendant]” is sufficient to bring it within

the non-service exception to the requirement to obtain consent from all defendants prior to seeking

removal. Lewis v. Rego Co., 757 F.2d 66, 68–69 (3d Cir. 1985).

       11.     Accordingly, this action is removable to this Court pursuant to 28 U.S.C. § 1441.

       WHEREFORE, Petitioner, Costco Wholesale Corporation, Defendant in the action

described herein, which is currently pending in the Superior Court of the State of New Jersey, Law

Division, Somerset County, Docket No. MRS-L-1127-21, prays that this action be removed

therefrom to this Court.



                                               WEINER LAW GROUP LLP
                                               Attorney for Defendant, Costco Wholesale Corp.


Dated: June 24, 2021                           BY:
                                                     LAWRENCE M. BERKELEY, ESQ.
                                                     (LMB-7706)




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       I certify that a true copy of the Summons and Complaint filed in the Superior Court of the

State of New Jersey, County of Somerset, is annexed hereto as Exhibit A. The affidavit of service is

annexed hereto as Exhibit B. Information regarding the principal place of business for DDR and

Site Centers are annexed hereto as Exhibits C and D.



                                              WEINER LAW GROUP LLP
                                              Attorney for Defendant, Costco Wholesale Corp.


Dated: June 24, 2021                          BY:
                                                       LAWRENCE M. BERKELEY, ESQ.
                                                       (LMB-7706)




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